          Case 1:14-cv-00851-JEB Document 93 Filed 07/01/19 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                           )
AMERICAN HOSPITAL ASSOCIATION, et al., )
                                           )
                      Plaintiffs,          )
                                           ) Civil Action No. 14-cv-00851 (JEB)
              v.                           )
                                           )
ALEX. M. AZAR, in his official capacity as )
Secretary of Health and Human Services,    )
                                           )
                      Defendant.           )
__________________________________________)


                               DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s November 1, 2018 Order (ECF No. 89), the Secretary of Health

and Human Services (“HHS”) provides this status report to inform the Court that HHS remains

on track to meet the reduction targets set forth in the Court’s November 1 Order. Attached to

this status report are statistics concerning, inter alia, the backlog of appeals at the Office of

Medicare Hearings and Appeals (“OMHA”) as of the end of the second quarter of FY 2019. See

Medicare Appeals Dashboard, Exhibit 1. From November 1, 2018 through the end of the second

quarter of FY 2019, there has been a net reduction of 82,936 appeals pending at OMHA with a

total of 343,658 appeals pending at OMHA by the end of the second quarter, which is a 19.4%

reduction from the starting number of appeals identified in the Court’s November 1 Order

(426,594 appeals).

Dated: July 1, 2019                                    Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       JEAN LIN
                                                       Special Counsel
                                                       Federal Programs Branch
        Case 1:14-cv-00851-JEB Document 93 Filed 07/01/19 Page 2 of 2




                                             /s/ Nicholas Cartier
                                             NICHOLAS CARTIER
Of Counsel:                                  DC Bar # 495850
ROBERT P. CHARROW                            Trial Attorney
General Counsel                              U.S. Department of Justice
JANICE L. HOFFMAN                            Civil Division, Federal Programs Branch
Associate General Counsel                    1100 L Street, NW
SUSAN MAXSON LYONS                           Washington, DC 20005
Deputy Associate General                     Telephone: (202) 616-8351
Counsel for Litigation                       Facsimile: (202) 616-8460
KIRSTEN FRIEDEL RODDY                        Nicholas.Cartier@usdoj.gov
Attorneys                                    Counsel for Defendant
United States Department of Health and
Human Services




                                         2
